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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-cv-01796 REB-MEH

   ESTATE OF ANTHONY L. SIMS, By Kathie Sims as Personal Representative,

          Plaintiff,

   v.

   JEFFERSON COUNTY SHERIFF TED MINK, in his individual and official capacities; and
   JOHN DOE SHERIFF’S DEPUTY, in his individual and official capacities.

          Defendants.

   ______________________________________________________________________________

                    AMENDED COMPLAINT AND JURY DEMAND
   ______________________________________________________________________________

          Plaintiff, the Estate of Anthony L. Sims, by Kathie Sims as Personal Representative, and

   through the Estate’s attorneys, David A. Lane and Sara J. Rich of Killmer, Lane & Newman,

   LLP, respectfully alleges for the Amended Complaint and Jury Demand as follows:

                                         I. INTRODUCTION

          1.      Anthony L. Sims, a 20-year-old man, was held as a pretrial detainee in Jefferson

   County Detention Facility on allegations of aggravated sexual assault on a child. Due to the

   nature of the charges, and out of fear for his safety, Anthony requested during intake that he be

   placed in protective custody (“PC”). Anthony was placed in protective custody/administrative

   segregation. Unfortunately for Anthony, the disciplinary/administrative segregation (“Adseg”)

   unit of Jefferson County Detention Facility, adjacent to the pc unit, was also housing Shawn

   Shields, a known violent leader of a white supremacist prison gang. Shields, who was in

   Jefferson County Detention Facility awaiting trial on charges of assaulting a fellow inmate, who
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   had also murdered a fellow inmate, was being held in administrative segregation based on his

   documented history of violence and assaults against other inmates. Defendants’ failure to

   maintain proper security between Shields, who was prone to violence, and Anthony, who was

   vulnerable to such attacks, led directly to Anthony’s murder.

           2.      This is an action for damages and other relief arising under the United States

   Constitution and the laws of the United States. Defendants violated the rights of Anthony Sims,

   the deceased son of Kathie Sims, under the Fourteenth Amendment to the Constitution of the

   United States of America when Defendants knowingly and with deliberate indifference to his

   constitutional rights, failed to protect and secure Anthony, a vulnerable pretrial detainee being

   held in protective custody, from known dangerous inmates being held in administrative

   segregation.

           3.      Defendants’ conduct under color of state law proximately caused the deprivation

   of Plaintiff’s federally protected rights. Defendants’ conduct was done willfully and wantonly or

   with reckless disregard of Plaintiff’s federally protected rights.

                                   II. JURISDICTION AND VENUE

           4.      This action arises under the Constitution and laws of the United States, and is

   brought pursuant to Title 42 U.S.C. § 1983. Jurisdiction is conferred on this Court pursuant to

   28 U.S.C. §§ 1331. Jurisdiction supporting Plaintiff’s claim for attorney fees and costs is

   conferred by 42 U.S.C. § 1988.

           5.      Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

   of the events alleged herein occurred within the State of Colorado, and all of the parties were

   residents of the State at the time of the events giving rise to this litigation.




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                                             III. PARTIES

          6.      At all times pertinent hereto, the decedent, Anthony L. Sims, was a citizen of the

   United States of America and detained in the State of Colorado by officials of Jefferson County,

   Colorado.

          7.      At all times pertinent hereto, Kathie Sims, personal representatives of the Estate

   of Anthony Sims and mother of Anthony Sims, was a citizen of the United States of America and

   resident of the State of Alabama.

          8.      At all times relevant to the subject matter of this litigation, Defendant Sheriff

   Mink was a citizen of the United States and a resident of Colorado and was acting under color of

   state law in his capacity as Sheriff of Jefferson County, Colorado.

          9.      Upon information and belief, at all relevant times, Deputy John Doe was

   employed as a Deputy by Jefferson County Sheriff’s Department and was acting within the scope

   of his official duties and employment, under color of state law.

                                   IV. FACTUAL BACKGROUND

          10.     During the relevant time period, Anthony Sims was a pretrial detainee within the

   Jefferson County Detention Facility (“JCDF”) in Golden, Colorado, held on allegations of

   aggravated sexual assault on a child.

          11.     When Anthony was taken into custody he specifically requested that he be placed

   in protective custody because of the nature of the allegations against him. Anthony had never

   spent time in jail and he was aware that the type of allegations against him, sexual assault on a

   child, would subject him to an increased risk of harm.

          12.     Inmates who are alleged to have committed sex offenses or are labeled a sex

   offender are singled out for harsh treatment by other inmates.


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          13.       Anthony Sims was described as psychologically troubled and abnormally

   immature. While Anthony was incarcerated in the JCDF he met with a mental health care

   provider on a regular basis due to his psychological state.

          14.       Anthony met with a counselor several times a week and the counselor, a Jefferson

   County employee, was well aware of his fears regarding his safety in jail and his general

   vulnerability.

          15.       An inmate can be placed in PC at the JCDF if it is determined that his well being

   is in jeopardy. Additionally, Adseg is utilized for inmates who present a serious threat to the

   safety of other inmates, property or to the security and orderly operation of the JCDF.

          16.       Anthony was placed in protective custody, while being detained at the JCDF

   because he feared for his safety due to the allegations against him and because his well being

   was in jeopardy.

          17.       Anthony was housed in cell 46 in the PC unit.

          18.       Another inmate, Goodloe, was also being held in protective custody and was held

   next to Anthony in cell 48.

          19.       The inmates held in cells 46 and 48 share the use of a dayroom. The inmates in

   cells 46 and 48 can access the dayroom when the door to their cell is opened by a deputy in the

   control tower. The deputies open and close these doors electronically from the control tower

   without being physically present in the day room.

          20.       The inmates held in cells 46 and 48 are not allowed to access the day room at the

   same time in order to maintain their physical segregation from each other.

          21.       The special units at the JCDF include cells 46 and 48, where Anthony and

   Goodloe were housed, as well as cells 42 and 44. Cells 42 and 44 are designed the same as cells


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   46 and 48 in that they share the use of a day room that can be accessed when a deputy in the

   control tower opens those cell doors.

          22.       Shawn Shields was housed in cell 42. Shawn Shields is a high level member of a

   white supremacist prison gang called the Aryan Syndicate.

          23.       Shields had been transferred from the Colorado State Penitentiary (“CSP”) --

   Colorado’s “supermax” prison -- to JCDF. The Colorado State Penitentiary is a Level V

   security correctional institution for adult male offenders which houses the department’s most

   violent, dangerous and disruptive offenders.

          24.       Shields had been transferred to JCDF to await trial on charges of assaulting

   another inmate who was held in a cell with him.

          25.       The documentation that was provided to the JCDF regarding Shields indicated

   that he had been transferred from CSP and that he was being held pending charges of assaulting

   another inmate.

          26.       Defendants were well aware of Shields’ propensity for violence and attack on

   other inmates.

          27.       Shields was housed in the administrative segregation unit in order to separate him

   from the general population for the safety and security of the other inmates.

          28.       Upon information and belief, while he was incarcerated at the JCDF, Shields

   learned that Anthony was charged with aggravated sexual assault on a child.

          29.       The day room for cells 46/48 and the day room for cells 42/44 were connected by

   a shower which was used by the occupants of the four cells in the special unit.

          30.       The shower that was used by each of the four men housed in cells 46/48 and

   42/44 was designed with a sallyport that was equipped with manual locks on the doors on either


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   side of the shower. The door on one side of the shower entered the day room for cells 46/48 and

   the door on the other side of the shower entered the day room for cells 42/44.

          31.     Unlike the doors of the individual cells which were controlled by a deputy in the

   tower, the doors to the shower in between the two day rooms was equipped with a manual lock

   which was accessed by the deputy on the tier outside the housing area.

          32.     When an inmate in either the PC or the Adseg units wanted to use the shower he

   was required to contact a deputy and request that the door entering the shower from the day room

   be unlocked, and the other door entering into the other day room be locked in order to keep the

   PC inmates segregated from the Adseg inmates.

          33.     From their position on the outside tier, the deputies were unable to confirm that

   the shower door was actually locked. In order to confirm the locking mechanism was engaged, a

   deputy had to enter the day room and personally attempt to open the shower door.

          34.     Instead of the deputy entering the day room and confirming that the door was

   locked, the custom, practice and policy of the JCDF that was enforced by Sheriff Mink and

   followed by the deputies, was to request that the inmate pull on the door and rely upon the

   inmate to confirm the door was locked.

          35.     The deputy then manually unlocked the other door on the other side of the

   shower.

          36.     The inmates could manipulate the door to make it appear to the deputy standing

   on the tier outside that the door was locked, when in fact the door was not locked. The inmates

   from cells 42/44 (Adseg) could then access the day room for cells 46/48 (PC) through the

   unlocked shower doors.




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          37.     Defendants were aware that the inmates were able to manipulate the locking

   mechanism on the doors in the administrative segregation unit’s shower to appear as if they were

   locked when they were not.

          38.     Upon information and belief, inmate-on-inmate assaults have occurred in the

   special unit at Jefferson County due to the failure of the deputies to ensure that the doors

   allowing access to the showers were securely locked.

          39.     Upon information and belief, Shields entered into Anthony’s day room numerous

   times by manipulating the locks on the shower room doors.

          40.     The locks on the shower room doors were left unlocked so many times that

   Anthony had a hand written note which stated “Both of the shower doors are unlocked.”

          41.     Upon information and belief, Anthony would hold this sign up in the window of

   his cell to notify the deputies on duty when he was aware that the shower doors separating his

   day room from Shields’ were unsecured, thus, allowing Shields unobstructed access into

   Anthony’s day room and to Anthony himself if his cell door was unlocked.

          42.     Jefferson County Sheriff’s Deputies witnessed Shields in the day room for cells

   46/48 (PC) but did nothing to stop his access nor did they take additional precautions to ensure

   he was not able to enter the other day room where Anthony was held.

          43.     On November 1, 2005 Anthony contacted Defendant John Doe and asked that the

   door to his side of the shower be unlocked so that he could use the shower. Defendant John Doe

   unlocked the door on Anthony’s side of the shower and attempted to lock the door to Shields’

   day room. Shields manipulated the lock to make it appear as if the door had locked when it had

   not. Defendant John Doe failed to personally confirm that the door to Shields’ day room was

   locked and merely took Shields word for it.


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           44.    Upon information and belief, after Anthony finished showering, Shields entered

   Anthony’s day room where he physically attacked Anthony and killed him by strangulation with

   a tube sock. Shields left Anthony in his cell on his bed and returned to his cell.

           45.    At some point later a deputy electronically closed Anthony’s cell door from the

   control tower leaving him locked in his cell, dead.

           46.    Anthony Sims was found by the deputies “unresponsive” in his cell around 5:00

   p.m. on November 1, 2005.

           47.    Anthony was found with a tube sock tied around his neck as the top of his body

   was laying face down on the bed with his legs on the floor.

           48.    There was blood found in Anthony’s cell, including a large spot of blood on the

   bed where his head was resting.

           49.    The right side of Anthony’s face was severely beaten, bruised and swollen,

   particularly around his right eye.

           50.    Dr. Ben Galloway performed an autopsy of Anthony’s body on November 3,

   2005.

           51.    Members of the Jefferson County Sheriff’s Office and the Jefferson County

   District Attorney’s’ Office attended the autopsy of Anthony Sims.

           52.    On November 14, 2005 Kathleen Battan, a Jefferson County Investigator,

   informed Anthony’s mother that she “had investigated this case thoroughly and there was no

   evidence of second party involvement” in Anthony’s death.

           53.    The death certificate, issued on November 15, 2005, indicated “suicide” as the

   cause of death, explaining that the “suspect tightened sock around neck.”




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          54.     On November 17, 2005 the Jefferson County Coroner’s Office issued a final

   determination regarding Anthony’s death and ruled his death a suicide.

          55.     In March 2006 the Jefferson County Coroner’s Office confirmed the finding of

   the original autopsy and investigation into Anthony’s death determining that the cause of death

   was suicide.

          56.     The Federal Bureau of Investigation subsequently conducted an investigation

   which included the events surrounding Anthony’s death.

          57.     On or about October 2, 2008 Kathie Sims was contacted by an FBI Agent who

   informed her that the FBI’s investigation had determined that Anthony had not committed

   suicide, but had been murdered by a fellow inmate.

          58.     It was at that time that Kathie Sims learned about the manual locks on the shower

   door and that due to the failure of Jefferson County employees to confirm that the doors were

   properly locked, Shields would have been able to access Anthony through the shared shower.

          59.     Kathie Sims neither knew nor could have known prior to receiving information

   from the FBI’s investigation that Jefferson County Sheriff’s Department’s custom, practice and

   policy which failed to secure and protect vulnerable inmates, such as Anthony, from dangerous

   inmates caused the death of her son.

          60.     Upon information and belief, an FBI agent interviewed Shields at CSP in 2008

   regarding this incident.

          61.     During this interview, Shields informed the FBI agent that he had indeed

   murdered Anthony, as well as another former cellmate.

          62.     This information has been passed on to the Jefferson County District Attorney’s

   office and they have undertaken a new investigation on this matter.


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                                        V. CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
                           42 U.S.C. § 1983 –14th Amendment Due Process
                     Deliberate Indifference to an Obvious Risk of Serious Harm
                                       (Against All Defendants)

           63.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

           64.     Anthony Sims was a pretrial detainee at all times relevant to this action.

           65.     Defendants were acting under color of state law in their actions and inactions at

   all times relevant to this action.

           66.     Defendants were deliberately indifferent to an obvious risk of serious harm by

   putting Anthony Sims into a situation which was virtually certain to, and did, result in an assault

   and his murder. This was without necessity, right, legal justification or excuse and with such

   conscious or callous indifference to the rights of the Plaintiff as to rise to a level repugnant to the

   conscience of a reasonable person.

           67.     Defendants knowingly inflicted unnecessary and wanton pain upon Plaintiff by

   allowing dangerous inmates, such as Shields, access to him while he was supposed to be in pc to

   protect him from such violent inmates, in violation of Anthony Sims’ right to due process and to

   be free from assaults under the Fourteenth Amendment.

           68.     Defendant John Doe exhibited deliberate indifference to the substantial risk of

   harm inflicted upon Anthony Sims by failing to ensure that the locking mechanisms on the

   shower doors in the administrative segregation unit were securely locked despite the known risk

   of substantial harm dangerous inmates posed to inmates who were housed in the administrative

   segregation unit for their protection, such as Anthony Sims.



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          69.     Defendant Sheriff Mink knew of the substantial risk of serious harm posed by

   dangerous inmates housed in administrative segregation to inmates who were housed in the

   administrative segregation unit for their protection, including Anthony Sims. Such deliberate

   indifference to the safety and protection of inmates, who were housed in administrative

   segregation for their protection, resulted in the assault and murder of Anthony Sims and

   continues to pose a substantial risk of serous harm to other JCDF inmates.

          70.     Defendants failed to provide humane conditions of confinement for Anthony Sims

   and other similarly situated inmates by failing to implement practices, policies and procedures

   that protect inmates, including vulnerable inmates such as Anthony Sims, from the substantial

   risk of serious harm posed by dangerous inmates housed in administrative segregation.

          71.     Defendant Sheriff Mink, by and through his official duties, failed to and continues

   to fail to properly train, supervise and/or discipline their employees regarding the protection of

   inmates from assault, resulting in inhumane conditions of confinement and a deliberate

   indifference to the substantial risk of serious harm to Anthony Sims and other similarly situated

   inmates.

          72.     The inadequate training and/or supervision provided by Defendant Mink results

   from a conscious or deliberate choice to follow a course of action from among various

   alternatives available to Defendant Mink.

          73.     In light of the duties and responsibilities of the Jefferson County Sheriff

   Department’s personnel who exercise control over individuals incarcerated at JCDF, the need for

   scrutiny in specialized training, supervision and discipline regarding the safety of inmates in

   protective custody is so obvious, and the inadequacy of appropriate training and/or supervision is

   so likely to result in the violation of constitutional rights, such as those described herein, that


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   Defendant Mink is liable for their failure to appropriately train and/or supervise JCDF personnel.

   Such failure to properly train and supervise his employees was and continues to be the moving

   force and proximate cause of the violation of Anthony Sims’ constitutional rights and the rights

   of other inmates.

          74.      The acts or omissions of each Defendant were the legal and proximate cause of

   Mr. Sims’ damages in that he suffered an assault which resulted in his death while in

   Defendants’ protective custody.

          75.      As a direct and proximate cause and consequence of the unconstitutional policies,

   procedures, customs, and/or practices described above, Anthony Sims suffered an assault that

   resulted in his death.

          76.      Defendants’ conduct in violating Anthony Sims’ rights as described herein shocks

   the conscience and is intolerable to society’s standards of fundamental fairness.

                                SECOND CLAIM FOR RELIEF
        42 U.S.C. § 1983 – 14th Amendment Substantive Due Process – Failure to Protect
                      (Against All Defendants in Their Official Capacities)

          77.      Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

          78.      Defendants were acting under color of state law in their actions and inactions

   which occurred at all times relevant to this action.

          79.      By incarcerating Anthony Sims and other similarly situated inmates, and thereby

   assuming control over the inmates and depriving them of their liberty to care for themselves,

   Defendants created a special relationship with Anthony Sims and other inmates that required

   Defendants to assume an affirmative duty of care and protection with respect to Anthony Sims

   and other inmates.


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           80.      Defendants recklessly and with conscious disregard to the serious and obvious

   risk to inmate safety, failed to protect Anthony Sims and other inmates in administrative

   segregation from assaults by known dangerous inmates in the following ways:

                 a. by failing to take any substantive remedial actions to ensure that the locking

                    mechanism on the shower door in the administrative segregation unit was at all

                    times securely locked, thereby restricting the access of extremely dangerous

                    inmates to inmates housed in the administrative segregation unit for their safety

                    and protection who were vulnerable to attacks; and

                 b. by failing to properly train and/or supervise Jefferson County personnel to prevent

                    and/or address assaults of vulnerable inmates in protective custody by inmates

                    known to be dangerous to other inmates.

           81.      This conduct amounts to deliberate indifference to the rights of inmates in

   protective custody, including Anthony Sims, to be free from threat and assault from inmates

   known to be dangerous and who are housed in administrative segregation for the protection of

   the general population, and over whom prison officials exercise control.

           82.      The conduct is so grossly reckless that future assaults and attacks were and are

   virtually inevitable.

           83.      When viewed in total, this conduct shocks the conscience.

           84.      The acts or omissions of the Defendants were the legal and proximate cause of

   Anthony Sims’ death.

           85.      The Defendants failed to and continue to fail to properly train, supervise and/or

   discipline their employees regarding the protection of vulnerable inmates in administrative

   segregation from assault by inmates known to be dangerous, resulting in a unconstitutional


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   failure to protect Anthony Sims from physical assault and murder and a unconstitutional failure

   to protect other inmates from assaults by dangerous inmates.

           86.     The inadequate training and/or supervision provided by the Defendants results

   from a conscious or deliberate choice to follow a course of action from among various

   alternatives available to the Defendants.

           87.     In light of the duties and responsibilities of the Jefferson County Sheriff’s Office

   personnel who exercise control over individuals incarcerated at Jefferson County, the need for

   specialized training, supervision and discipline regarding the vulnerability of inmates housed in

   administrative segregation for their protection is so obvious, and the inadequacy of appropriate

   hiring, training and/or supervision is so likely to result in the violation of constitutional rights,

   such as those described herein, that the Defendants are liable for their failure to appropriately

   train and/or supervise JCDF personnel. Such failure to properly train and supervise their

   employees was and continues to be the moving force and proximate cause of the violation of

   Anthony Sims’ and other inmates’ constitutional right to protection from inmates known to be

   violent and dangerous.

           88.     Such policies, as well as Defendants’ actions and inactions violated Anthony

   Sims’ substantive due process right under the Fourteenth Amendments to the United States

   Constitution.

                                 THIRD CLAIM FOR RELIEF
         42 U.S.C. § 1983 – 14th Amendment Substantive Due Process – Danger Creation
                       (Against All Defendants in Their Official Capacities)

           89.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.




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              90.      Defendants were acting under color of state law in their actions and inactions

   which occurred at all times relevant to this action.

              91.      Defendants created the danger that led to Anthony Sims’ brutal murder and/or

   increased Anthony Sims’ vulnerability to the attack that led to his death by the affirmative

   conduct of:

                    a. failing to ensure that the locking mechanisms on the shower doors in the

                       administrative segregation unit, which separated and limited access between

                       inmates known to be violent and dangerous and inmates housed in the unit for

                       their protection, was at all times securely locked; and

                    b. choosing not to properly train and/or supervise Jefferson County personnel to

                       prevent and/or address inmates’ access to other inmates within the administrative

                       segregation unit.

              92.      Anthony Sims and other inmates are members of a limited group of individuals at

   serious risk of assault by dangerous inmates such as those housed in the administrative

   segregation unit due to their propensity for violence.

              93.      Defendants’ conduct placed Anthony Sims and other inmates at substantial risk of

   serious, immediate, and proximate harm – namely, allowing inmates known to be violent and

   dangerous access to inmates in protective custody who are most vulnerable to be targeted for

   assault.

              94.      Defendants acted recklessly and in conscious disregard of that obvious risk by

   placing inmates who are especially vulnerable to assault, such as Anthony Sims, in close

   physical proximity to inmates known to be violent and dangerous, such as Shawn Shields,




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   without taking even basic precautions to ensure that the locking mechanisms on the shower doors

   separating such individuals was at all times securely locked.

          95.     This conduct amounts to deliberate indifference to the rights of inmates in

   protective custody, including Anthony Sims, with whom inmates known to be dangerous and

   violent inevitably came into contact, and over whom they exercise control.

          96.     The conduct is so grossly reckless that future assaults were and are virtually

   inevitable.

          97.     When viewed in total, this conduct shocks the conscience.

          98.     The acts or omissions of the Defendants were the legal and proximate cause of

   Anthony Sims’ death.

          99.     The Defendants failed to properly train, supervise and/or discipline their

   employees regarding the protection of vulnerable inmates in administrative segregation from

   assault by inmates known to be dangerous, resulting in a unconstitutional creation of danger and

   deliberate indifference to the substantial risk of serious harm to Anthony Sims and other inmates.

          100.    The inadequate training and/or supervision provided by the Defendants results

   from a conscious or deliberate choice to follow a course of action from among various

   alternatives available to the Defendants.

          101.    In light of the duties and responsibilities of the Jefferson County Sheriff’s

   Department personnel who exercise control over individuals incarcerated at JCDF, the need for

   specialized training, supervision and discipline is so obvious, and the inadequacy of appropriate

   hiring, training and/or supervision regarding the vulnerability of inmates housed in

   administrative segregation for their protection is so likely to result in the violation of

   constitutional rights, such as those described herein, that the Defendants are liable for their


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   failure to appropriately train and/or supervise JCDF personnel. Such failure to properly train and

   supervise their employees was and continues to be the moving force and proximate cause of the

   violation of Anthony Sims’ and other inmates’ substantive due process rights.

          102.     Such policies, as well as the Defendants’ actions and inactions violated Anthony

   Sims’ substantive due process rights under the Fourteenth Amendment to the United States

   Constitution.

                   WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

   the Estate’s favor and against Defendants, and award the Estate all relief as allowed by law,

   including but not limited to, the following:

                   a.     Prospective injunctive and declaratory relief and other appropriate
                          equitable relief;

                   b.     Actual economic damages as established at trial;

                   c.     Compensatory damages, including, but not limited to, those for future
                          pecuniary losses, physical and emotional pain, suffering, inconvenience,
                          humiliation, mental anguish, loss of enjoyment of life, and other
                          nonpecuniary losses;

                   d.     Punitive damages for all claims allowed by law in an amount to
                          be determined at trial;

                   e.     Pre-judgment and post-judgment interest at the highest lawful rate;

                   f.     Attorney’s fees and costs; and

                   g.     Such further relief as justice requires.

          PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE

          DATED this 10th day of November 2009.

                                                  KILLMER, LANE & NEWMAN, LLP

                                                  s/ Sara J. Rich
                                                  ___________________________________


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